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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO



 ELIAS MANUEL CUSTODIO,

                      Plaintiff,                Case No. 1:21-cv-00351-BLW
                                                Case No. 1:21-cv-00337-BLW
 vs.

 ASHLEY DOWELL, SANDY JONES,                    MEMORANDUM DECISION
 LISA BOSTAPH, RICH WILLIS,                     AND ORDER
 KAREN NEILL, CORNEY DENNIS,
 R. DAVID MOORE, MIKE
 MATTHEWS, JANIE DRESSEN,
 DIANA CARNELL, PAROLE
 HEARING OFFICER, and IDAHO
 COMMISSION OF PARDONS,

                      Defendants.




       Plaintiff Elias Manuel Custodio alleges that the Idaho Commission of Pardons and

Paroles (“ICPP” or “CCOPP”) denied him and other Hispanic applicants parole based on

race or national origin in violation of the Fourteenth Amendment of the United States

Constitution. Dkts. 3 and 9. Pending before the Court is the ICPP Defendants’ Second

Motion for Summary Judgment, filed on June 26, 2024. Dkt. 85. On February 18, 2025,

the Court addressed final issues related to Plaintiff’s discovery issues and access to legal

documents. Dkt. 88. Plaintiff was ordered to file a response to the pending Motion for

Summary Judgment no later than March 5, 2025. See id. Plaintiff has filed nothing

further in response, and the deadline for doing so has passed.

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       Accordingly, the Court will rule on the pending summary judgment motion on the

record that is currently before the Court.

            1. Standard of Law

       Summary judgment is appropriate when a party can show that, as to a claim or

defense, “there is no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a). Material facts are those “that might

affect the outcome of the suit.” Id. at 248. “Disputes over irrelevant or unnecessary facts

will not preclude a grant of summary judgment.” T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630 (9th Cir. 1987).

       To show that material facts are not in dispute, a party may cite to particular parts

of the record or show that the adverse party is unable to produce admissible evidence to

support the fact. Fed. R. Civ. P. 56(c)(1)(A) & (B). The Court must consider “the cited

materials,” but it may also consider “other materials in the record.” Fed. R. Civ. P.

56(c)(3).

       The Court does not determine the credibility of affiants or weigh the evidence set

forth by the parties. Although all reasonable inferences that can be drawn from the

evidence must be drawn in a light most favorable to the non-moving party, T.W. Elec.

Serv., Inc., 809 F.2d at 630-31, the Court is not required to adopt unreasonable inferences

from circumstantial evidence, McLaughlin v. Liu, 849 F.2d 1205, 1208 (9th Cir. 1988).

       Pro se inmates are exempted “from strict compliance with the summary judgment

rules,” but not “from all compliance.” Soto v. Sweetman, 882 F.3d 865, 872 (9th Cir.

2018). At summary judgment, courts “do not focus on the admissibility of the evidence’s

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form,” but “on the admissibility of its contents.” Fraser v. Goodale, 342 F.3d 1032, 1036

(9th Cir. 2003).

       The Equal Protection Clause of the Fourteenth Amendment to the United States

Constitution mandates that “all persons similarly circumstanced shall be treated alike” by

governmental entities. F.S. Royster Guano Co. v. Virginia, 253 U.S. 412, 415 (1920).

However, “[t]he Constitution does not require things which are different in fact or

opinion to be treated in law as though they were the same.” Tigner v. Texas, 310 U.S.

141, 147 (1940).

       An equal protection claim may be established by showing (1) that actions of the

defendants had a discriminatory impact, and (2) that defendants acted with an intent or

purpose to discriminate based upon a plaintiff’s membership in a protected class. Serrano

v. Francis, 345 F.3d 1071, 1082 (9th Cir. 2003); Lee v. City of Los Angeles, 250 F.3d

668, 686–87 (9th Cir. 2001). In equal protection cases on issues such as jury venire

selection and Title VII hiring, Courts have relied on statistics to prove the first factor,

discriminatory impact.

       As to second factor, discriminatory intent or purpose, the United States Supreme

Court has given specific guidance for applying equal protection principles in the criminal

sentencing context, where discretion governs decisionmaking. See McCleskey v. Kemp,

481 U.S. 279 (1987). In McCleskey, the plaintiffs relied on a detailed professional

statistical analysis (“the Baldus study”) to bolster their claims that the death penalty was

applied with an unequal hand to Black defendants who had white victims. Despite the



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compelling results of the Baldus study,1 the Supreme Court rejected the equal protection

claim, explaining:

                      McCleskey’s statistical proffer must be viewed in the
              context of his challenge. McCleskey challenges decisions at
              the heart of the State’s criminal justice system. “[O]ne of
              society’s most basic tasks is that of protecting the lives of its
              citizens and one of the most basic ways in which it achieves
              the task is through criminal laws against murder.” Gregg v.
              Georgia, 428 U.S. 153, 226, 96 S.Ct. 2909, 2949, 49 L.Ed.2d
              859 (1976) (WHITE, J., concurring). Implementation of these
              laws necessarily requires discretionary judgments. Because
              discretion is essential to the criminal justice process, we
              would demand exceptionally clear proof before we would
              infer that the discretion has been abused. The unique nature of
              the decisions at issue in this case also counsels against
              adopting such an inference from the disparities indicated by
              the Baldus study. Accordingly, we hold that the Baldus study
              is clearly insufficient to support an inference that any of the


1
  The study performed by Professors David C. Baldus, Charles Pulaski, and George Woodworth
(“Baldus”) was described, in part, as follows:

              Baldus … divided the cases according to the combination of the
              race of the defendant and the race of the victim. He found that the
              death penalty was assessed in 22% of the cases involving black
              defendants and white victims; 8% of the cases involving white
              defendants and white victims; 1% of the cases involving black
              defendants and black victims; and 3% of the cases involving white
              defendants and black victims.

              Baldus subjected his data to an extensive analysis, taking account
              of 230 variables that could have explained the disparities on
              nonracial grounds. One of his models concludes that, even after
              taking account of 39 nonracial variables, defendants charged with
              killing white victims were 4.3 times as likely to receive a death
              sentence as defendants charged with killing blacks. According to
              this model, black defendants were 1.1 times as likely to receive a
              death sentence as other defendants. Thus, the Baldus study
              indicates that black defendants, such as McCleskey, who kill white
              victims have the greatest likelihood of receiving the death penalty.

481 U.S. at 286–87.

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              decisionmakers in McCleskey’s case acted with
              discriminatory purpose.

Id. at 294–97.

       Here, the Court concludes that the general McCleskey admonition—warning

against relying on a bare statistical analysis in a highly-discretionary criminal sentencing

context—applies to the highly-discretionary parole consideration context. Any statistical

showing of disparate impact on Hispanic inmates must be accompanied by a showing that

ICPP decisionmakers acted with a discriminatory purpose in denying Hispanic inmates

parole. The United States Court of Appeals for the Third Circuit recognized the difficulty

of proving an equal protection violation in parole consideration: “A parole board’s

individualized assessment is merely a reasoned ‘prediction[] of future behavior’ about a

particular individual, so by itself it cannot make two people, let alone entire groups of

offenders, similarly situated.” Stradford v. Sec'y Pennsylvania Dep't of Corr., 53 F.4th

67, 76 (3d Cir. 2022) (alteration in original) (quoting Conn. Bd. of Pardons v. Dumschat,

452 U.S. 458, 464 (1981) (parole due process claim context)).

          2. Discussion

       The Court has issued several Orders addressing the merits of Plaintiff’s claims in

the context of ruling on requests for preliminary injunctive relief, discovery disputes, and

earlier motions for summary judgment. Several times, the Court has informed Plaintiff

that his evidence does not meet the threshold to proceed to jury trial on the narrow issues

in this case, and that he is not permitted to proceed on a claim that the ICPP wronged him

in his parole denial, because that claim is barred by Heck v. Humphrey, 512 U.S. 477


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(1994), discussed in more detail below.2 Rather than repeat all of the Court’s reasoning

why Plaintiff has not stated or supported an equal protection claim, the Court will

incorporate its other Orders by reference here (Dkts. 68, 82, 99) and discuss in detail the

most recent argument and evidence submitted in support of the Second Motion for

Summary Judgment. See Dkts. 85 through 98.

         In support of the Second Motion for Summary Judgment, Defendants argue that

Plaintiff has not demonstrated a statistically significant disparate impact, nor has he

provided facts that there was purposeful discrimination—both key elements of an equal

protection claim.

             A. Discriminatory Impact

         Plaintiff relies upon two forms of evidence to show discriminatory impact—

spreadsheets of parole grant/denial cases compiled by Idaho Department of Correction

(IDOC) Research Analyst Juyoung Choi and a parole grant/denial multiple regression

analysis performed by Principal Evaluator Ryan Langrill of the Office of Performance

Evaluations (OPE) for the state of Idaho.



2
    In the Initial Review Order, the Court determined:

                 Plaintiff can pursue his allegations as a civil rights claim without
                 having shown that his parole revocation has been invalidated only
                 if success in his case would not implicitly invalidate revocation of
                 his parole. The Court will liberally construe the Complaint as one
                 that does not seek a reversal of his parole denial (which would be
                 barred by Heck), but only seeks a new hearing that employs new
                 procedures that include checks and balances to ensure that parole
                 decisions are not being made based on race or nationality factors.

Dkt. 16 at 6.

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       During the early phase of discovery, IDOC Research Analyst Juyoung Choi

compiled certain raw data about parole grants and denials that fell within the time frame

authorized by the Court. From this raw data, Choi created two spreadsheets summarizing

parole grants and denials during the designated time frame, Exhibits G and H. Dkts. 85-

10 & 85-11. Exhibit G is titled “Statistics for All Crimes.” Dkt. 85-10 at 1. It is a

summary of 4,031 parole cases. Exhibit H is titled “Statistics for Murder/Manslaughter

Crimes.” Dkt. 85-11 at 1. It is a summary of 632 parole cases within this category of

crimes. Plaintiff has analyzed this data, but the Court earlier rejected his analysis based

on a Greenholtz I analysis (see discussion below).

       After Defendants were compelled to produce more records, Plaintiff identified a

potential dispute of material fact in the aforementioned multiple regression analysis

conducted by Langrill—it showed that being Hispanic correlated with a 4.3% lower

probability of parole. The Court denied Defendants’ first summary judgment motion and

ordered more explanatory and statistical information from the parties. Dkt. 82.

       Defendants submitted additional explanations and statistical analyses from Choi

and Langrill. Dkts. 85-3, 85-9. Importantly, these experts explain that the 4.3% statistic

was derived from a “multiple regression analysis for all crime types for the years 2016

and 2017… intended to identify patterns in parole decisions, given the recent

implementation of guideline scores as part of the Justice Reinvestment Initiative.” Dkt.

85-1 at 3.

       Here, too, Plaintiff is trying to establish a pattern of discrimination. However, the

4.3% statistic is not significant here because it was found in a study identifying results,

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not causes. In this case, causes are principally at issue—is there a practice or procedure

that parole commissioners follow or implement that causes Hispanics to be denied parole

disproportionately? Or is the outcome not due to discrimination at all, but a unique

combination of each potential parolee’s individual factors that caused the potential

parolees to be denied parole, resulting in the 4.3% statistic?

       Langrill recognized the difficulty of trying to determine a cause for the 4.3%

statistic because “the data set did not include the numerous other factors the commissions

consider in making parole decisions.” Id. at 3. Those other factors can include:

              1) [the] seriousness of and aggravating factors involved in the
              crime, 2) mitigating factors involved in the crime or related to
              the offender’s circumstances, 3) prior criminal history of the
              offender, 4) failure or success of past periods of supervision
              on parole or probation, 5) institutional history, including
              overall behavior, involvement in programming, institutional
              employment, custody level at the time of the hearing, and
              disciplinary and corrective action, 6) evidence of the
              offender’s development of a positive social attitude and
              willingness to fulfill the obligations of a good citizen, 7)
              information or reports regarding the offender’s physical or
              psychological condition, 8) the strength and stability of the
              offender’s proposed parole plan, including adequate housing
              and employment, and 9) the results of the offender’s validated
              risk and needs assessment.

Dkt. 85-2, Affidavit of IDOC counsel Franziska Mueller (relying on IDAPA

50.01.01.250.01(c), Rules of the Commission of Pardons and Parole, available at

https://parole.idaho.gov/wpcontent/uploads/2023/09/500101_07212023-RULES-final-

for-sub.pdf (accessed June 24, 2024)). Based on the fact that these additional factors were

not included in the multiple regression analysis that produced the 4.3% figure, Langrill

was unable “to determine what factors, if any, being Hispanic correlated with; he was not

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able to determine whether being Hispanic caused the lower probability of a parole grant.”

Dkt. 85-1 at 3. Defendants’ first motion for summary judgment was denied, with

instructions to produce a more relevant statistical analysis and explanation to address the

4.3% figure, if Defendants desired to assert entitlement to summary judgment.

         Choi has newly conducted a statistical “z test,” designed to “compare populations

and determine whether statistical differences are significant.” Dkt. 85-1 at 4. Other cases

show that the z-test is well-known and widely-accepted. See In re: Petrobras Sec. Litig.,

312 F.R.D. 354, 369 (S.D.N.Y. 2016) (the Court is convinced that the z-test is a well-

established and sound statistical technique), aff'd in part, vacated in part sub nom. (on

class certification grounds), In re Petrobras Sec., 862 F.3d 250 (2d Cir. 2017).

         The same z-test, explained the same way, was used in Hispanic National Law

Enforcement Association NCR v. Prince George’s County, 535 F. Supp. 3d 393 (D. Md.

2021):

                       The second methodology is a general statistical
               calculation known as a “Z-Test” which evaluates the
               probability that observed differences between groups
               occurred by chance alone. As relevant here, if the Z-Test
               results in a figure with an absolute value above 1.96—either
               below -1.96 or above +1.96—there is less than a five percent
               chance that the difference in promotion rates between white
               officers and Black officers, or between White officers and
               Hispanic officers, is due to chance, and the difference is
               deemed to be of “statistical significance.” J.R. 573.

Id. at 401; see id. at 402 (finding statistically significant differences in promotion rate z-

scores of -2.59, -3.09, and -3.31).




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       Similarly, in Isabel v. City of Memphis, No. 01-2533 ML/BRE, 2003 WL

23849732 (W.D. Tenn. Feb. 21, 2003) (unpubl.), the court relied on a z-test to find a

statistically significant score:

                       The Z-test for independent proportions showed that
               white candidates passed the test at about a rate of 90%, or
               .8947, and African Americans passed the test using the cut
               score of 66 at a rate of 74.6 percent. The difference in those
               percentages is 15 percent, which Dr. DeShon asserted is
               statistically significant, yielding a Z score of 2.35.

Id. at *4.

       Here, Choi arrived at a z-score of 0.99185. See Dkt. 85-12 at 2-3. This figure falls

within the z-test’s standard range of being insignificant, as the analyses from other cases

confirm. After conducting the z-test, Choi declared that she is 95% confident “there is no

significant difference in the grant rates of Caucasian and Hispanic residents.” Id. at 5.

       Another reason that the Choi z-test results appear reliable is that they are similar to

results of a Greenholtz I analysis, because a z-test compares the same type of data sets.

See Order, Dkt. 82 at 12-14; Defendants’ Memorandum, Dkt. 85-1 at 5. The Court’s

previous analysis of the same data, based on Greenholtz I, demonstrated that the results

do not show a significant difference between the number of Caucasians paroled and the

number of Hispanics paroled. Dkt. 68 at 12-18. The Court agrees with Defendants that

trying to apply the multiple regression analysis resulting in the 4.3% reduction rate in

parole grants for Hispanics to Plaintiff’s facts is like comparing apples to oranges, while

the z-test and the Greenholtz I analyses compare apples to apples.




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       Having reviewed Defendants’ briefing on the new summary motion, including the

expert’s new testing and explanation of the results, the Court concludes that Plaintiff has

not shown a genuine dispute as to a material fact by pointing to the multiple regression

analysis outcome (conducted for a different purpose) that being Hispanic correlated with

a 4.3% lower probability of parole. The z-test and the Greenholtz I analysis are methods

that fit the circumstances of this case and address the particular issue at hand—whether

there is a significant disparity in parole grants among the races. These tests do not show a

significant discriminatory effect.

       Plaintiff earlier pointed to a number of potential parolees he believes were the

objects of discrimination based on the Choi spreadsheets. The allegation of

discrimination against a class of persons in those instances has been dispelled by the

many factors involving each individual’s suitability for parole, as shown in their

respective parole records. See Dkt. 68 at 9-10 & 19-33; Dkt. 82 at 16-21.

       To the extent Plaintiff recently asserted that he has found mistakes in the data on

Exhibit G and H, and Defendants responded that they had produced all documents they

had that might address any mistakes, the Court permitted Plaintiff to explain the mistakes

in his response brief. Plaintiff has not filed a response.

           B. Discriminatory Intent and Heck Bar Limitations

       As to discriminatory intent, Plaintiff has provided insufficient evidence showing

that individual ICPP members, or the members as a group, engaged in decisionmaking

based on a discriminatory intent or motive to deny Hispanic inmates parole during the

timeframe at issue.

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       Plaintiff turns to comments or errors made in his own parole denial proceeding in

an attempt to invalidate that decision, but what evidence he has provided does not support

his position that the commissioners had a discriminatory intent (see Dkt. 82 at 20), and

that type of evidence generally is outside of the body of evidence in this case that is

necessarily corralled by Heck. In its Order of September 7, 2023, the Court determined

that “Heck v. Humphrey prevents this Court from determining the propriety of the ICPP’s

particular decision in Plaintiff’s case, it can review only whether the ICPP decisionmaker

generally acted in accordance with a policy, procedure, or practice that violated the Equal

Protection Clause in denying Hispanic inmates parole.” Dkt. 68 at 10. Therefore, “Heck

mandates that a specific claim that the ICPP’s particular parole decision in Plaintiff’s

case was unconstitutional must be pursued in habeas corpus.” Id.

       Defendants also point out that Plaintiff has not pinpointed any practices or

procedures that cause the ICPP to knowingly or unknowing discriminate against Hispanic

parole applicants, nor has he suggested alternative procedures that would remedy any

alleged discriminatory practices or procedures. Simply because the evidence shows that

most ICPP commissioners have not taken the opportunity to engaged in implicit bias or

anti-discrimination training does not equate to evidence that the commissioners’

decisionmaking was overcome by an autonomic, implicit, or default discriminatory mode

against Hispanics applicants. See Dkt. 61 at 5. No is there any evidence to show that the

reason the ICPP commissioners ignored the option of bias was to continue to engaged in

a purposeful pattern of racial discrimination. Plaintiff has not established a causal link

among the factors of a lack of training, an alleged discriminatory practice or procedure

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